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                                                                                     Office of the City Attorney
                                                                                                Kristyn Anderson
                                                                                                    City Attorney
                                                                                   350 S. Fifth St., Room 210
                                                                                      Minneapolis, MN 55415
                                                                        TEL 612.673.3000 TTY 612.673.2157


                                                                                           612.673.3152
                                                                      Munazza.humayun@minneapolismn.gov
August 26, 2024

                                                                               VIA E-MAIL ONLY

Peter Breen
B. Tyler Brooks
309 W. Washington St., Ste. 1250
Chicago, IL 60606


Re:      Pro-Life Action Ministries, et al. v. City of Minneapolis
         CLAW-BACK NOTICE AND PRODUCTION OF DOCUMENTS WITH
         REVISED PRIVILEGE DESIGNATIONS

Dear Counsel:

Pursuant to Magistrate Judge Foster’s ruling at the IDR, the City has reviewed its privilege
designations in accordance with the principles Judge Foster set forth. As you know, Judge
Foster concluded that when information protected by the City’s attorney-client privilege was
shared with a third party without the City Council’s waiver of the privilege, the communication
did not destroy the privilege. The attached spreadsheet explains the revisions the City has made.

                                      CLAW-BACK NOTICE

Documents identified as subject to claw-back in the three “CLAW-BACK” columns are
privileged and were either inadvertently produced in the City’s previous productions to
Plaintiffs, or were included in Planned Parenthood’s productions to Plaintiffs. In accordance
with the Protective Order in this case, the City is notifying you of the inadvertent disclosure. In
accordance with the Protective Order and Fed. R. Civ. P. 26(b)(5)(B), we ask that you:

      1. promptly return, sequester, or destroy all copies you have of the documents listed in the
         three “CLAW-BACK” columns and any information in them;
      2. not use or disclose those documents or the information in them; and
      3. take reasonable steps to retrieve the documents and the information in them if you have
         disclosed the documents or the information in them to others.
On the attached spreadsheet, in the column “Not included in previous productions,” you will
notice a handful of documents listed. All but two of these are subsets of email chains that have
been previously produced. Of the remaining two, one is entirely privileged.




                                                                                         Lathrop Ex. 1
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The link below contains an updated production that reflects the revised privilege designations.

   2024-07-24

Sincerely,

/s/ Munazza Humayun

Munazza Humayun
Assistant City Attorney




                                                                                   Lathrop Ex. 1
